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10                            UNITED STATES DISTRICT COURT 

11                           SOUTHERN DISTRICT OF CALIFORNIA 

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13     D.F., a minor, by and through his              Case No.: 3:13-cv-00331-GPC-KSC
       Guardian Ad Litem, TASHINA
14
       AMADOR, individually and as successor          VERDICT FORM
15     in interest to Alexis F ontalvo, deceased;
       and T.L., a minor, by and through her
16
       Guardian Ad Litem, T ASHINA
17     AMADOR,
18                                      Plaintiffs,
19     v.

20     SIKORSKY AIRCRAFT
       CORPORATION, et ai.,
21
                                      Defendants.
22
23
24
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 1 We answer the questions submitted to us, as follows:
 2

 3                     Plaintiffs' Strict Liability Claim: Manufacturing Defect
 4        1. 	 Did the CH·53E landing gear control system at issue in this case contain a
 5           manufacturing defect when it left Sikorsky's possession? 

 6                      Yes       X        No

 7           Ifyou answered Yes to question 1, then answer question 2. 

 8           Ifyou answered No to question 1, skip question 2 and answer question 3. 

 9
10        2. 	 Was that manufacturing defect a substantial factor in causing Sergeant Fontalvo's
11           death?
12        - - - - - Yes       ----- No 

13           Regardless ofyour answer to question 2, answer question 3. 

14
15                         Plaintiffs' Strict Liability Claim: Design Defect
16        3. 	 Is the CH·53E landing gear control system a product about which its ordinary
17           consumer can form reasonable minimum safety expectations?
18            ';t...    Yes               No 

19           Ifyou answered Yes to question 3, answer question 4. 

20           Ifyou answered No to question 3, skip question 4 and answer question 5. 

21
22        4. 	 Did the CH-53E landing gear control system at issue in this case fail to perform
23           as safely as its ordinary consumer would have expected when used or misused in
24           anlended or reasonably foreseeable way?
25                      Yes               No 

26           Regardless ofyour answer to question 4, answer question 5. 

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 1       5. 	 Did the risks of the CH-53E landing gear control system's design outweigh the
 2          benefits of the design?
 3       _ _ _ _ yes            X        No
 4          Ifyou answered Yes to either questions 4 or 5, answer question 6.
 5          Ifyou answered No to question 5, and you either did not answer or answered
 6                No to question 4, skip question 6 and answer question 7.
 7
 8       6. 	 Was the CH-53E landing gear control system's design a substantial factor in
 9          causing Sergeant Fontalvo's death?
10                    Yes)<              No 

11          Regardless ofyour answer to question 6, answer question 7. 

12
13                                Plaintiffs' Negli2ence Claim
14       7. 	 Was Sikorsky negligent in designing the CH-53E landing gear control system?
15                    Yes)(              No
16          /fyou answered Yes to question 7, answer question 8.
17          Ifyou answered No to question 7, skip question 8 and answer question 9.
18
19       8. 	 Was Sikorsky's negligence in designing the CH-53E landing gear control system
20          a substantial factor in causing Sergeant Fontalvo's death?
21       - - - - - Yes - - - - - No 

22          Regardless ofyour answer to question 8, answer question 9. 

23
24       9. Was Sikorsky negligent in manufacturing, supplying, installing, or inspecting the
25          CH-53E landing gear control system at issue in this case? 

26                    Yes
                            •
                              X          No

27          Ifyou answered Yes to question 9, answer question 10.
28

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 1       Ifyou answered No to question 9, and you answered Yes to any ofquestions 2,
 2             6, or 8, skip question 10 andproceed to the following section.
 3       Ifyou answered No to question 9, and you either did not answer or answered
 4             No to all ofquestions 2, 6, and 8, stop here, answer nofurther questions,
 5             and have the presiding juror sign and date this form.
 6
 7    10.Was Sikorsky's negligence in manufacturing, supplying, installing, or inspecting
 8       the CH-53E a substantial factor in causing Sergeant Fontalvo's death?
 9                Yes                   No
10       Ifyou answered Yes to question 10, proceed to the next section.
11       Ifyou answered No to question 10, andyou answered Yes to any ofquestions 2,
12             6, or 8, proceed to the next section.
13       Ifyou answered No to question 10, and you either did not answer or answered
14             No to all ofquestions 2, 6, and 8, stop here, answer no further questions,
15             and have the presiding juror sign and date this form.
16
17                            Sikorsky's Affirmative Defenses 

18       Ifyou answered Yes to questions 6 or 8, answer question 11. 

19       Ifyou either did not answer or answered No to questions 6 and 8, skip 

20             questions 11 through 13, and answer question 14.
21
22    Il.Did the United States approve reasonably precise specifications for the CH-53E
23       landing gear control system?
24                Yes                   No 

25       Ifyou answered Yes to question 11, answer question 12. 

26       Ifyou answered No to question 11, skip questions 12 and 13, and answer 

27             question 14.
28
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 1       12. Did the landing gear control system of the CH-53E at issue in this case conform
 2          to the government's specifications?
 3       - - - - - Yes                  No
 4          Ifyou answered Yes to question 12, answer question 13.
 5          Ifyou answered No to question 12, skip question 13, and answer question 14.
 6
 7       13. Did Sikorsky warn the United States about dangers of the CH-53E's landing
 8          gear configuration that were known to Sikorsky but not the United States?
 9       - - - - - Yes                  No
10          Regardless ofyour answer to question 13, ifyou answered Yes to either
11                questions 2 or 10, answer question 14.
12          Ifyou answered Yes to question 13, and you either did not answer or answered
13                No to both questions 2 and 10, stop here, answer no further questions,
14                and have the presiding juror sign and date this form.
15
16       14. Was Sergeant Fontalvo negligent in handling the CH-53E at issue in this case
17          before the accident occurred?
18       - - - - - Yes               No
19         Ifyou answered Yes to question 14, answer question 15.
20          Ifyou answered No to question 14, skip question 15 and answer question 16.
21
22       15. Was Sergeant Fontalvo's negligence a substantial factor in causing his death?
23       - - - - - Yes                  No 

24          Regardless ofyour answer to question 15, answer question 16. 

25
26       16. Was the U.S. Navy negligent in maintaining or repairing the CH-53E landing
27          gear system? 

28       - - - - - Yes - - - - - No 


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 1           lfyou answered Yes to question 16, answer question 17. 

 2           Ifyou answered No to question 16, skip question 17 and answer question 18. 

 3
 4        17. Was the U.S. Navy's negligence a substantial factor in causing Sergeant
 5           Fontalvo's death?
 6                           _ _ _ _ No 

          - - - - Yes
 7           Regardless ofyour answer to question 17, answer question 18. 

 8
 9        18. Was the U.S. Marine Corps negligent in maintaining or repairing the CH-53E
10           landing gear system?
11        - - - - - Yes      - - - - No
12          lfyou answered Yes to question 18, answer question 19.
13           Ifyou answered No to question 18, skip question 19 and answer question 20.
14
15        19. Was the U.S. Marine Corps' negligence a substantial factor in causing Sergeant
16           Fontalvo's death?
17        - - - - Yes - - - - - No
18          Ifyou answered Yes to any ofquestions 15, 17, or 19, answer question 20.
19           Ifyou either did not answer or answered No to all ofquestions 15, 17, and 19,
20                 skip question 20 and answer question 21.
21
22        20. Was the negligent conduct discussed in question 15, 17, and/or 19 so highly
23           extraordinary that it was not reasonably foreseeable to Sikorsky? 

24                     Yes                No 

25           Ifyou answered Yes to question 20, stop here, answer no further questions, and
26                 have the presiding juror sign and date this form.
27           lfyou answered No to question 20, answer question 21.
28

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 1       21.Was DuPont negligent in designing or manufacturing the wiring in the CH-53E
 2          landing gear system?
 3       - - - - - Yes - - - - - No
 4          Ifyour answer to question 21 is Yes, answer question 22.
 5          lfyour answer to question 21 is No, skip question 22 and answer question 23.
 6
 7       22. Was DuPont's negligence a substantial factor in causing Sergeant Fontalvo's
 8          death?
 9       - - - - - Yes - - - - - No
10          lfyou answered Yes to any ofquestions 15, 17, 19, or 22, answer question 23.
11          lfyou either did not answer or answered No to all ofquestions 15,17,19, and
12                   22, skip question 23 and answer question 24.
13
14       23. To what percentage of responsibility for Sergeant Fontalvo's death do you assign
15          Sikorsky, Sergeant Fontalvo, the U.S. Navy, the U.S. Marine Corps or DuPont?
16          (Include percentages only for those persons whose conduct you have found, in
17          the questions above, was a substantial factor in causing Sergeant Fontalvo's
18          death.)
19                   Sikorsky                - - - ­%
20                   Sergeant Fontalvo
21                   The U.S. Navy           - - - ­%
22                   The U.S. Marine Corps - - - -%
23                   DuPont                - - - ­%
24                   TOTAL                   1000/0
25          Regardless ofyour answer to question 23, answer question 24. 

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 1                                            Damages
 2       24. What sum of money, if paid now in cash, would fairly and reasonably
 3          compensate Dominic Fontalvo?
 4
         Economic Damages:
 5
         Non~Economic   Damages:
 6
            Regardless ofyour answer to question 24, answer question 25.
 7
 8
         25. At the time of Sergeant Fontalvo' s death, was Tanika Fontalvo dependent upon
 9
            Sergeant Fontalvo for at least one~half of her fmanciaI support?
10
11       - - - - Yes                     No
            Ifyou answered Yes to question 25, answer question 26.
12
            Ifyou answered No to question 25, skip question 26, and have the presiding
13
                  juror sign and date this form on the following page.
14
15
         26.What sum of money, if paid now in cash, would fairly and reasonably
16
            compensate Tanika Fontalvo?
17
18       Economic Damages:
19       Non~Economic   Damages:
20          Regardless ofyour answer to question 26, have the presiding juror sign and
21                date this form on the following page.
22
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 1                                            Signature
 2
 3     Signed:Q~~~
                    ~esiding~Juror
 4
 5
 6     Date:
                    J         I
 7
 8     After this verdict form has been signed, notify the clerk that you are ready to present
 9 your verdict in the courtroom.

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